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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND
                                         Northern Division
   Estate of Henrietta Lacks,

                             Plaintiff,

            v.                                               Case No. 1:21-cv-02524-RDB

   Thermo Fisher Scientific Inc.,

                             Defendant.


                                NOTICE OF ENTRY OF APPEARANCE

         TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD: Please enter the

appearance of Tonya Kelly Cronin as counsel for Defendant, Thermo Fisher Scientific, Inc. in the

above-captioned matter. Tonya Kelly Cronin is a member in good standing of the Bar of this

Court.



Dated: October 29, 2021                            Respectfully submitted,


                                                   /s/ Tonya Kelly Cronin
                                                   Tonya Kelly Cronin (Fed. Bar No. 27166)
                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ P.C.
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                                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 29th day of October 2021, the foregoing Notice of Entry

of Appearance was served via the Court’s CM/ECF system on all counsel of record.




                                                       /s/
                                                       Tonya Kelly Cronin




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